            Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 1 of 60




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  Columbus Division


AMERICAN SOUTHERN HOMES
HOLDINGS, LLC and ASH-
GRAYHAWK, LLC,

       Plaintiffs,

       v.                                           Case No: ____________________

DAVID B. ERICKSON, GH LOT
HOLDINGS, INC., GH LOT
HOLDINGS OF ATLANTA
CORPORATION f/k/a GRAYHAWK
HOMES OF ATLANTA, INC., and GH
LOT HOLDINGS OF SOUTH
CAROLINA, INC., f/k/a GRAYHAWK
HOMES OF SOUTH CAROLINA, INC.,

       Defendants.


*      *        *     *      *       *      *       *      *       *      *       *      *

                                         COMPLAINT

       Plaintiffs American Southern Homes Holdings, LLC (“ASHH”) and ASH-Grayhawk,

LLC (“ASH-GH” and, collectively with ASHH, “ASH”) hereby allege as follows:

I.     PRELIMINARY STATEMENT

       1.       ASHH is in the business of acquiring, integrating, and operating homebuilding

companies in the United States.

       2.       On November 15, 2019, ASH-GH acquired the assets of Grayhawk Homes, Inc.

(the “Acquisition”), which was founded by David B. Erickson (“Erickson”), and the parties entered

into a number of contracts, representing and agreeing to their respective obligations to be bound
            Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 2 of 60




by, comply with, and be liable under such agreements.

       3.       One of such agreements required Erickson to serve as a “land bank” for ASH-GH.

In particular, he was to hold title to land (including land he already owned and land he might

purchase in the future), develop such land into roughly 1,600 finished lots ready for home

construction, and sell such lots to ASH-GH, whereupon ASH-GH would build homes on the lots.

This was a key component of the Acquisition, insofar as it comports with ASH’s “land light”

business model and guaranteed ASH-GH a pipeline of developed lots for at least seven years.

       4.       Erickson, acting both individually and through a number of related and affiliated

entities that he owns and/or controls, has failed to comply with the terms of many, if not all, of

these agreements, including his obligation to serve as a land bank for ASH-GH.

       5.       Following the Acquisition in November 2019, Erickson became a member of the

ASHH Board of Directors, and a unitholder in ASHH. He also served as a consultant to ASH,

advising on potential acquisitions and carrying out other tasks.

       6.       On October 28, 2020, the ASHH Board appointed Erickson as its interim CEO, to

serve for a transition period until ASHH could identify and retain a permanent CEO. Erickson

was appointed as interim CEO after he pushed for the removal of the incumbent CEO of ASHH,

as well as the President of ASH-GH.

       7.       Just days later, Erickson announced his desire to serve as the permanent CEO of

ASHH, and he began to negotiate for a generous compensation package. After such negotiations

failed to produce an agreement, ASHH informed Erickson that it would continue its search for a

permanent CEO and that he would remain as interim CEO.

       8.       On December 16, 2020, Erickson sent a letter to the Chairman of the Board of

ASHH, stating as follows: “This letter is to acknowledge our joint understanding to discontinue




                                                 2
             Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 3 of 60




my role as interim CEO of American Southern Homes Holdings, LLC effective February 28, 2021.

I shall continue to serve as Interim CEO between now and February 28th, unless informed to

discontinue sooner. I am disappointed in the decision to end my role as CEO, but fully understand

the thinking involved.”

        9.       On December 20, 2020, Erickson sent another letter in which he abruptly resigned

as the interim CEO of ASHH, despite his initial commitment to remain until February 28, 2021:

“Clearly the board of ASH[H] does not have confidence in my filling the role of CEO for ASH[H].

As such, I am resigning effective immediately as interim CEO of ASH[H].”

        10.      In the December 20 letter, Erickson also resigned from the ASHH Board, stating as

follows: “I am hereby resigning from the Board of Directors for ASH[H] effective immediately.

Obviously, I remain a shareholding member of ASH[H]. In the past year, I have developed

ambitions to do more things in the home building and development business and feel that my

responsibilities with ASH[H] are likely to constitute a conflict of interest[] with those goals

and possibilities.” (emphasis added).

        11.      On December 30, 2020, Erickson sent another letter in which he sought clarification

of restrictions imposed by his agreements with ASH, stating as follows: “I am intending to

purchase one or more home building companies in the near term for my own investments.

If that step should go well, I may consider doing additional purchases in the future.”

(emphasis added). Again, Erickson declared his intent to compete with ASHH.

        12.      Thus, Erickson declared his intention to compete directly with ASHH, after serving

as a director and consultant for more than a year, and as interim CEO since October 28, 2020. Of

course, Erickson had extensive access to confidential information about ASHH’s business and

acquisition strategies in all of such roles.




                                                  3
          Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 4 of 60




       13.     Erickson’s abrupt resignation as the interim CEO of ASHH and as a member of its

Board, as well as his declared intention to compete directly with ASHH in the market for

homebuilder acquisitions, understandably raised concerns for ASHH, particularly in light of his

access to confidential information before separating from ASHH. ASHH has taken steps to

address such concerns, prompting a dispute with Erickson that is subject to arbitration.

       14.     Confirming the reasonableness of such concerns, ASH has learned that Erickson,

individually and on behalf of the other Defendants named in this lawsuit, has been acting in clear

breach of various contractual restrictions and in violation of federal copyright law, as well as state

and federal trademark and unfair competition law.

       15.     First, Erickson has violated and is violating his confidentiality obligations as an

ASH consultant, which are set forth in an Employment Agreement and Consulting Agreement.

       16.     In particular, Erickson has misappropriated ASHH’s confidential business

information to pursue his own business ventures, using such information gathered during his time

with ASHH as a basis to launch his own competing ventures. For example, Erickson participated

in ASHH’s negotiation of a deal to acquire Dorn Homes (“Dorn”), dissuaded ASHH from

increasing its purchase price offer, and then attempted to acquire Dorn on his own account, before

taking on a position as the interim CEO of ASHH. He has also pursued the acquisition of another

homebuilding company in Austin, TX by leveraging confidential information he obtained while

associated with ASHH.       He has also tried (unsuccessfully) to solicit ASH employees for

employment using confidential information he obtained while associated with ASHH.

       17.     Second, Erickson has ignored and is ignoring the reasonable non-compete

restrictions in the Asset Purchase Agreement entered into at the time of the Acquisition, by




                                                  4
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 5 of 60




building and selling homes within a 100-mile radius of Atlanta, Georgia and also by operating a

new competitive homebuilding operation from Columbus, Georgia.

       18.       Third, Erickson has failed and is failing to comply with the terms of a Land

Purchase Agreement entered into at the time of the Acquisition, which requires him to serve as a

land bank and develop and sell lots that conform to certain standards, and, when they do not, to

remediate the lots at his expense. In recent months, Erickson has declined to sell lots to ASH-GH,

despite his contractual obligation to do so. In addition, he has (a) demanded an additional deposit

before developing certain lots, despite ASH-GH having already made a $2.5 million deposit

required by the Land Purchase Agreement; (b) upon information and belief, artificially inflated the

sales price of developed lots under the Land Purchase Agreement, which are based in part on the

“actual costs” of development, by improperly including above-market development costs paid to

an entity in which he has an ownership interest; and (c) otherwise defaulted on his obligations to

deliver lots to ASH, as required by a Land Purchase Agreement entered into by the parties.

       19.       Fourth, Erickson has improperly used the “Grayhawk” and/or “Grayhawk Homes”

trademark, trade name and logo, which he fully assigned to ASH-GH through the Asset Purchase

Agreement and an accompanying Trademark Assignment Agreement, as well as state and federal

trademark law.

       20.       Fifth, Erickson has improperly marketed homes using the Grayhawk and/or

Grayhawk Homes trademark and trade name, specifically via entities named “Grayhawk Homes

of Atlanta” and “Grayhawk Homes of South Carolina.” He also has improperly used Grayhawk

marketing materials and copyrighted Grayhawk building plans that ASH-GH purchased as part of

the Acquisition (“Grayhawk Building Plans”), in violation of the Asset Purchase Agreement and

an accompanying Copyright Assignment Agreement, as well as federal copyright law.




                                                5
          Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 6 of 60




       21.     Through this Complaint, Plaintiffs seek an injunction prohibiting Erickson from

misappropriating confidential information; a judgment for specific performance requiring

Erickson to perform his obligations under the LPA; an injunction preventing Erickson from

continuing to violate his non-compete obligations; a judgement for specific performance requiring

Erickson’s compliance with the Copyright Assignment Agreement and Trademark Assignment

Agreement; an injunction prohibiting Erickson’s ongoing infringement of ASH-GH’s intellectual

property; a monetary judgment for damages arising from Erickson’s breach of various contracts

and from his willful trademark and copyright infringement; as well as the recovery of ASH’s

reasonable attorneys’ fees.

II.    THE PARTIES

       22.     American Southern Homes Holdings, LLC (or ASHH), is a Delaware limited

liability company and the indirect parent of ASH-Grayhawk, LLC. As stated above, ASHH is in

the business of acquiring, operating, and integrating homebuilders in the United States.

       23.     ASH-Grayhawk, LLC (or ASH-GH) is a Virginia limited liability company with

its principal place of business in Columbus, GA. ASH-GH is in the business of building and

selling single-family homes in Georgia and Alabama.

       24.     Erickson owns and controls several related and affiliated entities, including but not

limited to GH Lot Holdings, Inc. (Georgia corporation), Grayhawk Homes, Inc. (Georgia

corporation), Homestead Residential, Inc. (Alabama corporation), and GH Services, Inc. (Georgia

corporation) (collectively, the “Erickson Entities”).

       25.     GH Lot Holdings, Inc. is a Georgia corporation that is owned and controlled by

Erickson. GH Lot Holdings, Inc. was formerly known as “Grayhawk Homes, Inc.” and is a

member of ASHH.




                                                 6
          Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 7 of 60




       26.     Grayhawk Homes of Atlanta, Inc. is a Georgia corporation that, on information and

belief, is owned and controlled by Erickson. On or about January 19, 2021, Grayhawk Homes of

Atlanta, Inc. changed its name to “GH Lot Holdings of Atlanta Corporation.” According to the

Office of the Georgia Secretary of State website, Erickson is its Chief Executive Officer.

       27.     Grayhawk Homes of South Carolina, Inc. is a South Carolina corporation that, on

information and belief, is owned and controlled by Erickson. On or about February 3, 2021,

Grayhawk Homes of South Carolina, Inc. filed articles of amendment with the South Carolina

Secretary of State, changing its name to “GH Lot Holdings of South Carolina, Inc.”

III.   JURISDICTION & VENUE

       28.     This Court has original subject matter jurisdiction over Plaintiffs’ copyright and

trademark claims pursuant to 28 U.S.C. §§ 1331 and 1338.

       29.     This Court has supplemental jurisdiction over Plaintiffs’ remaining claims pursuant

to 28 U.S.C. § 1367. The remaining claims are so related to the federal claims over which this

Court has original jurisdiction that they form part of the same case or controversy under Article III

of the United States Constitution.

       30.     This Court has personal jurisdiction over Defendant Erickson, as he is a citizen and

resident of the State of Georgia and this District. Erickson also conducts and transacts business in

this District, with an office at 2301 Airport Thruway in Columbus, Georgia.

       31.     This Court has personal jurisdiction over Defendant GH Lot Holdings, Inc. because

it is a Georgia corporation that does business in the State of Georgia and in this District and has a

principal place of business at 2301 Airport Thruway in Columbus, Georgia.

       32.     This Court has personal jurisdiction over Defendant GH Lot Holdings of Atlanta

Corporation f/k/a Grayhawk Homes of Atlanta, Inc. because it is a Georgia corporation that does




                                                 7
          Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 8 of 60




business in the State of Georgia and in this District and has a principal place of business at 2301

Airport Thruway in Columbus, Georgia.

        33.     This Court has personal jurisdiction over Defendant GH Lot Holdings of South

Carolina, Inc. f/k/a Grayhawk Homes of South Carolina, Inc. because it is a South Carolina

corporation that does business in the State of Georgia and in this District and has an office at 2301

Airport Thruway in Columbus, Georgia.

        34.     Working from their offices in Columbus, Georgia, Defendants have caused,

directly and/or indirectly through intermediaries, Georgia and South Carolina property listings and

other similar information to be made available on the internet, accessible and viewable by residents

of the State of Georgia and this District. Examples of these Georgia and South Carolina property

listings are listed below. The Georgia and South Carolina property listings and other information

not only contain ASH-GH’s copyrighted and trademarked material, but also are in violation of the

several agreements the parties entered into as part of the Acquisition.

        35.     Defendants are direct competitors of Plaintiffs, as detailed in the several agreements

the parties entered into as part of the Acquisition, and Defendants compete with Plaintiffs in the

State of Georgia and in this District.

        36.     Venue is properly founded in this District pursuant to 28 U.S.C. § 1391 because a

substantial portion of the events giving rise to this action occurred and are occurring in this District,

and Defendants are subject to personal jurisdiction in this District.

        37.     Venue is properly founded in this Division pursuant to M.D. Ga. Local Civil Rule

3.4, because some or all Defendants reside in the Division and the actions giving rise to the claim

arose in the Division.




                                                   8
           Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 9 of 60




       38.     In addition, in the Asset Purchase Agreement (“APA”) attached as Ex. 1 to this

Complaint, the parties “consent[ed] exclusively to the personal jurisdiction of any state or federal

court sitting in the State of Georgia in any action or proceeding arising out of this Agreement.”

APA § 11.10(a). The parties agreed that they “shall not attempt to deny or defeat such personal

jurisdiction by motion or other request for leave from any such court.” Id. at § 11.10(c).

       39.     Further, the parties agreed in the Land Purchase Agreement (“LPA”) attached as

Ex. 2 to this Complaint that “any judicial action shall be brought exclusively in the U.S. District

Court in Columbus, Georgia regardless of the location of the affected Lots, and the Parties consent

to submit to the personal jurisdiction of that court in any action or proceeding arising out of or

relating to this Agreement.” LPA § 26.

IV.    FACTUAL BACKGROUND

       40.     On November 15, 2019, ASH-GH acquired the operating assets of Grayhawk

Homes, Inc. from Erickson. In exchange, Erickson obtained an equity interest in ASHH (both in

his own name and through GH Lot Holdings, Inc.) and agreed to receive deferred payments on an

installment basis, subject to certain requirements. Erickson is eligible to receive $3,600,000 in

remaining deferred payments.

       41.     After increasing his position in ASHH by acquiring and exercising warrants from

other ASHH members, Erickson now holds 47,000 units in ASHH, and GH Lot Holdings, Inc.

holds 40,000 units. At the time of acquisition, such units were valued at $100 per unit. Thus,

Erickson and GH Lot Holdings, Inc. together acquired ASHH units valued at $8.7 million.

       42.     The parties entered into several associated agreements at the time of the

Acquisition, including:

       •       Asset Purchase Agreement (“APA,” attached as Ex. 1 and incorporated by
               reference);



                                                 9
           Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 10 of 60




       •       Land Purchase Agreement (“LPA,” attached as Ex. 2 and incorporated by
               reference);

       •       Trademark Assignment Agreement (attached as Ex. 3 and incorporated by
               reference);

       •       Copyright Assignment Agreement (attached as Ex. 4 and incorporated by
               reference);

       •       Consulting Agreement (attached as Ex. 5 and incorporated by reference); and

       •       Employment Agreement (attached as Ex. 6 and incorporated by reference).

       43.     All of these agreements are governed by Georgia law.

       44.     Since the Acquisition closed on November 15, 2019, Erickson has breached all of

these agreements.

       A.      Relevant Terms of Agreements

               1.     Consulting Agreement – Confidentiality Obligations

       45.     Erickson entered into a Consulting Agreement with a term that extends until on or

about November 15, 2021, unless terminated earlier. Ex. 5, Consulting Agreement § 2.

       46.     Under the Consulting Agreement, Erickson was paid $48,000 per year in 12

monthly installments (for 16 hours of time per month), plus $250/hour for any additional time,

$1,500 for travel days, and $1,000 per month for health insurance. Id. § 3.

       47.     Erickson acknowledged that, as a consultant, he would have access to ASH’s

“Confidential Information,” which is defined as “non-public, proprietary and/or confidential

information relating to the business and affairs of the Company and/or ASH….” Id. § 7. This

includes “trade secrets, know how, research and development, databases, software, and other

intellectual property; information concerning personnel, compensation, recruiting, and training;

and information concerning the past, future, or current business of the Company, activities and




                                               10
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 11 of 60




operations of the Company and/or ASH, including customers, clients, suppliers, contractors,

products and prices (the ‘Confidential Information’).” Id.

       48.     Erickson agreed “that such Confidential Information shall be subject to the terms

and obligations described in Article 6.00 of the Employment Agreement, and that such terms and

obligations shall survive the termination of this Agreement for a period of one year.” Id.

       49.     In Article 6 of the Employment Agreement, Erickson similarly acknowledged that

he “will receive or have access to certain non-public, proprietary, and/or confidential information,”

which includes “trade secrets, know how, research and development, databases, software, and

other intellectual property [...] and operations of [ASH], including customers, clients, suppliers,

contractors, products and prices.” Ex. 6, Employment Agreement § 6.01.

       50.     He also “recognize[d] and acknowledge[d] the competitive value and confidential

and proprietary nature of the Confidential Information for which he will have access in the

performance of his duties and responsibilities for the Employer and/or ASH….” Id. § 6.02.

       51.     Erickson further “recognize[d] and acknowledge[d]” the following:

       [T]he losses, costs and damages that could result to [ASH] if any Confidential
       Information is disclosed to any other Person and in connection therewith the
       Executive agrees to keep the Confidential Information confidential, to use the
       Confidential Information only in connection with the carrying out of duties
       and responsibilities under this Agreement, not to use the Confidential
       Information after the termination of this Agreement for any reason, and not to
       disclose any Confidential Information to any Person (other than employees and
       advisors of Employer and/or ASH who specifically need to know such Confidential
       Information and who have previously agreed, either as a condition of employment
       or in order to obtain the Confidential Information, to be bound by terms and
       conditions substantially similar to those of this Section), in any manner whatsoever,
       in whole or in part.

Id. (emphasis added).

       52.     Erickson’s Consulting Agreement may be terminated for cause for a number of

reasons, including if Erickson “misappropriat[es] any money, assets, or properties of the


                                                 11
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 12 of 60




Company” for “personal gain or enrichment,” engages in conduct that involves “fraud, moral

turpitude, dishonesty, misconduct, embezzlement, theft, or similar matters that are detrimental” to

ASH, “breach[es] [the Consulting Agreement] or his non-competition obligations set forth in the

APA,” or the LPA is terminated as a result of an uncured breach. Ex. 5, Consulting Agreement §

4.

       53.     On April 8, 2021, ASH terminated the Consulting Agreement for cause for the

reasons set forth in this Complaint, including but not limited to misappropriation and use of assets

of the Company for personal gain (e.g., confidential information, copyrighted plans, and other

intellectual property) and breach of the non-competition obligations set forth in the APA (e.g., by

building and selling homes within 100 miles of Atlanta, GA, and by operating a competitive

homebuilding operation headquartered in Columbus, GA).

               2.      Asset Purchase Agreement

       54.     Through the APA, Grayhawk Homes, Inc., Erickson, and certain of the Erickson

Entities agreed to “sell, transfer, convey, and deliver to [ASH-GH] all tangible and intangible

property and assets utilized or held for use in, related to, or arising from the Business, wherever

located, and whether or not reflected in Seller’s books and records.” Ex. 1, APA § 1.1.

       55.     ASH-GH purchased “all of [Erickson’s] right, title, and interest in, under, and to”

several items, including real property, intellectual property, real property contracts, receivables,

marketing materials, utilities, inventory, property reports, real property leases, personal property,

sales contracts, permits, prepayments, customer information, employee records, phone numbers,

claims and rights, claims, and the business as a going concern. Id. § 1.1(a).




                                                 12
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 13 of 60




       56.     “Business” is defined as the “business of residential lot acquisition, homebuilding

and home sales in the Columbus, Georgia metropolitan area, inclusive of certain portions of

Alabama.” Id., Recital A.

       57.     “Intellectual Property” is defined as follows: “All intellectual property, including

all of the following and similar intangible property and related proprietary rights, interests and

protections, whether registered or unregistered and however arising: (i) patents, copyrights,

trademarks, service marks, trade names, domain names, trade secrets, websites, extranets,

software as a service, Software, (ii) architectural, building, and engineering designs, drawings,

specifications, and plans, including house plans for any existing or planned community, (iii)

proprietary information or rights including any and all plans, and other project related information

of prior and currently active real estate projects, and (iv) goodwill associated therewith.” Ex. 1,

APA § 1.1(j) & § 12.1(v) (emphasis added).

       58.     Erickson also agreed to certain enforceable restrictive covenants in connection with

the sale of the business. Specifically, Section 6.5(a) of the APA provides as follows:

       “Non-Solicitation; Non-Competition. To further ensure that Buyer receives the
       anticipated benefits of acquiring the Business, each Seller agrees throughout
       the period that begins on the Closing Date and ends on the later to occur of (i)
       the third (3rd) anniversary of the Closing Date and (ii) the expiration of the
       Deferred Payments Period (the “Restricted Period”), no Seller nor any Affiliate
       of a Seller (the “Restricted Parties”) will employ or solicit for employment or
       otherwise attempt to employ any employee of (i) Buyer (so long as the Restricted
       Parties have actual knowledge that such persons are employees of Buyer) or (ii)
       any current employee of a Seller who is hired by Buyer or (iii) any person who is
       or becomes an employee of Buyer at any time during the Restricted Period (so long
       as the Restricted Parties have actual knowledge that such persons are employees of
       Buyer). The prohibitions set forth in this Section 6.5(a) shall (i) not prevent any
       Seller or its Affiliates from hiring any person who (a) is presented to it by a
       professional placement agency; (b) contacts a Seller or its Affiliates in response to
       general advertisements (including postings on LinkedIn or similar websites); (c)
       contacts a Seller or its Affiliates on his or her own initiative for the purpose of
       seeking employment in each case without direct or indirect solicitation or
       encouragement from such Seller or its Affiliates or (d) has been terminated by



                                                13
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 14 of 60




       Buyer prior to commencement of employment discussions with such Seller or its
       Affiliates. Each Seller, D. Erickson, and R. Erickson further agree that during
       the Restricted Period, none of Seller, D. Erickson, or R. Erickson shall
       participate in a competitive homebuilding operation or business within 100
       miles of the geographic markets of each Seller as of the Closing Date, which
       shall include Columbus, Georgia; Atlanta, Georgia; Macon, Georgia; Dothan,
       Alabama; and Montgomery, Alabama, unless Buyer has breached any material
       obligations after the Closing Date and such material breach remains uncured for a
       period of thirty (30) days after receipt of written notice by Buyer from a Seller. In
       the event of such uncured breach, or in the event Seller terminates the Land
       Purchase Agreement as a result of an uncured breach of the Land Purchase
       Agreement (as more fully set forth in Section 34 therein), Seller or D. Erickson and
       R. Erickson may thereafter compete against Buyer free of any limitations imposed
       by this Section 6.5(a).”

Ex. 1, APA § 6.5(a) (emphasis added).

               3.      Trademark Assignment Agreement

       59.     In the Trademark Assignment Agreement, Erickson, through Grayhawk Homes,

Inc. (now GH Lot Holdings, Inc.), conveyed to ASH-GH “all worldwide right, title, and interest

in, to, and under all Trademarks.” Ex. 3, Trademark Assignment Agreement § 1.

       60.     “Trademarks” means “all of [Erickson’s] right, title, and interest in and to

Assignor’s trademarks, service marks, trade names, trade secrets, brand names, logos and

corporate names, slogans, trade dress and other indicia of source of origin, whether or not

registered, including, but not limited to, all common law rights thereto and all goodwill associated

therewith, and registrations and applications for registration thereof that constitute Purchased

Intellectual Property, including, but not limited to, the trademark and/or service mark registrations

and/or applications identified on Schedule 1.” Id., Recital B (emphasis added).

               4.      Copyright Assignment Agreement

       61.     In the Copyright Assignment Agreement, Erickson, through Grayhawk Homes, Inc.

(now GH Lot Holdings, Inc.), “s[old], assign[ed], convey[ed], and transfer[red]” all Copyrights to

ASH-GH, and ASH-GH “purchase[d], acquire[d], accept[ed], and assume[d]” all such Copyrights.



                                                 14
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 15 of 60




Ex. 4, Copyright Assignment Agreement § 1.

       62.     This assignment is universal and unequivocal and has the following scope:

       [A]ll worldwide right, title, and interest in, to, and under all Copyrights,
       whether registered or unregistered, and all elements thereof, including,
       without limitation, any and all derivative works of any of the foregoing and all
       privileges and goodwill associated with the Copyrights, together with all now or
       hereafter existing rights of every kind and character whatsoever throughout the
       world pertaining to the Copyrights, and all rights of Assignor to police, monitor,
       and enforce said Copyrights against any and all past and current infringement
       (including, without limitation, the right to sue for and collect damages caused
       by any such infringement), whether arising prior to or subsequent to the date
       hereof, the same to be held and enjoyed by Assignee, its successors and assigns
       from and after the date of this Agreement as fully and entirely as the same would
       have been held and enjoyed by Assignor had this Agreement not been made.

Id. (emphasis added).

       63.     Schedule 1 of the Copyright Assignment Agreement lists registered copyrights,

including specific building plans. ASH-GH has recorded the Copyright Assignment Agreement

with the U.S. Copyright Office, against all registered copyrights listed on Schedule 1.

       64.     The copyrighted Grayhawk Building Plans at issue, along with copyright filing and

registration information, are detailed below.

               5.       Land Purchase Agreement

       65.     When ASH-GH acquired Grayhawk Homes, the parties also entered into the LPA.

Both the APA and LPA require Erickson and certain of the Erickson Entities, as well as any other

entity owned or controlled by Erickson, to serve as a land bank and develop building lots for sale

to ASH-GH. See Ex. 1, APA § 8.2(v); Seller Disclosure Letter § 8.2(v); Ex. 2, LPA Recitals. This

was a central and critical aspect of the Acquisition.

       66.     Erickson and the Erickson Entities are contractually obligated to develop

approximately 1,600 lots for ASH-GH. Ex. 2, LPA § 2. The lots are designated, based on their

status at the time of the Acquisition, as “Finished” lots (Phase A Lots), lots that were being



                                                 15
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 16 of 60




developed (Phase B Lots), and real property or lots that Erickson has purchased or has a right to

purchase and that would be developed into finished lots (Phase C Lots). See id., Recitals & § 2.

                       a.     The Takedown Schedule

       67.      Erickson “is required to develop the Lots in accordance with [the LPA] and to

satisfy the requirements of the Takedown Schedule.” Id. § 10. The Takedown Schedule is set

forth in Schedule 1 and extends for seven (7) years, or until all Phase C Lots have been developed

by Erickson for purchase by ASH-GH. See id., Schedule 1. The Takedown Schedule provides for

a minimum of 180 closings per year, for a total of 1,263 lots. See id.

       68.      Erickson has covenanted and agreed “to pay for and be obligated for the costs of

the development of the Lots and the Subdivisions.” Id. § 24.

       69.      Section 6 of the LPA requires Erickson to deliver lots for sale to ASH-GH pursuant

to the Takedown Schedule, and it states expressly that the Takedown Schedule sets forth only “the

minimum number of Lot closings, based on the availability of Finished Lots” required of

ASH-GH on a quarterly basis (with ASH to receive credit toward future takedowns if it is ahead

of schedule):

       Seller is required to develop the Lots in accordance with this Agreement and to
       meet the requirement of the Takedown Schedule (defined below). Starting with the
       calendar quarter ending on December 31, 2019, Buyer agrees to purchase from
       Seller the number of Lots set forth on the Lot takedown schedule attached as
       Schedule 1 to this Agreement (the “Takedown Schedule”). The number of Lots
       shown on the Takedown Schedule represents the minimum number of Lot
       closings (“Lot Takedowns”) that Buyer is required to complete, based on the
       availability of Finished Lots, during each calendar quarter; provided, however,
       that to the extent Buyer purchases more than the number of Lots shown on the
       Takedown Schedule during any calendar quarter, the excess number of Lots shall
       be credited toward the Lot Takedowns required for the subsequent calendar quarter
       or quarters. (emphasis added).




                                                16
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 17 of 60




Thus, the LPA permits ASH-GH to take down more than the “minimum” number of lots

set forth in the Takedown Schedule.

       70.    Section 20 of the LPA provides, in turn, that “Buyer shall give Seller at least ten

(10) business days’ written notice of the intended Finished Lots to be purchased” by ASH-GH.

       71.    Thus, the LPA expressly contemplates that ASH will have the opportunity to

purchase more than the minimum number of finished lots set forth in the Takedown Schedule, to

the extent such lots are finished and available to purchase. ASH-GH has done so throughout the

term of the LPA, putting it ahead of the Takedown Schedule for Phase B and C Lots.

                      b.     Phase C Lots and Takedowns

       72.    Pursuant to the LPA, ASH-GH provided Erickson with a $2,500,000 deposit, which

is to be credited and returned to ASH-GH pro-rata as it purchases Phase C Lots. Id. § 4.

       73.    The purchase price for each Phase C Lot is determined by the “current basis of each

Phase C Lot shown on Exhibit C for each neighborhood” (i.e., the purchase price paid by Erickson

for the land) with an increase of 0.5% per month for each month since January 1, 2020, plus

reimbursement for property taxes paid between November 2019 and the lot takedown, plus

reimbursement for the “actual costs” incurred to develop the Phase C Lot, and plus a $3,000

management fee. The price resulting from such formula is described in the LPA as the “Phase C

Purchase Price.” Id. § 11.

       74.    If the Phase C Purchase Price “is equal to or less than twenty percent (20%) of the

average appraised market sales price of a house in such Subdivision (the ‘Estimated Market

Value’),” ASH-GH is to purchase from Erickson at the Phase C Purchase Price. Id. §§ 11, 12.

       75.    If the Phase C Purchase Price “exceeds 20% of the Estimated Market Value,”

Erickson may “elect to sell such Phase C Lots to [ASH-GH] for a price equal to or less than 20%




                                               17
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 18 of 60




of the Estimated Market Value (the ‘Reduced Phase C Purchase Price’),” subject to a true-up to

20% of the actual sales price for the home if it exceeds the Estimated Market Value. Id. § 13(a).

       76.     Alternatively, if the Phase C Purchase Price “exceeds 20% of the Estimated Market

Value,” Erickson may offer to sell such lots to ASH through a written right of first offer (“ROFO”),

and ASH may elect to purchase at that price. If ASH declines, Erickson “may accept any bona

fide, arms-length offer . . . from any unrelated third party willing to purchase” such lots at the

ROFO price. Id. § 13(b)(i)-(ii). The LPA defines these as the “Phase C ROFO Lots.” Id. § 13(b).

       77.     Erickson may not sell Phase C ROFO Lots to an affiliated party or at a lower price

or on better terms than are contained in the ROFO to ASH-GH. Id. § 13(b)(ii).

       78.     If Erickson does not accept a bona fide, arms-length offer from an unrelated third

party within 120 days, on terms no more favorable than offered to ASH-GH, Erickson must again

provide ASH-GH with a ROFO for the Phase C ROFO Lots at issue. Id. § 13(b)(iii).

       79.     If ASH-GH does not purchase any of the Phase C ROFO Lots, such lots do not

count towards either party’s obligations under the Takedown Schedule. Id. § 13(b)(i).

                       c.     Future Lots and Takedowns

       80.     Should Erickson “acquire or develop and offer for sale additional land or lots in the

States of Georgia or Alabama that are not Phase A, B, or C Lots” (called “Future Lots”), Erickson

must first provide a written ROFO to ASH-GH for such lots (“Future ROFO Lots”). Id. § 14(a).

ASH-GH has a 45-day review period to elect to purchase Future ROFO Lots. Id.

       81.     If ASH-GH elects to purchase the Future ROFO Lots, there is an additional 45-day

period to negotiate a purchase agreement and to conduct due diligence. Id. § 14(a).

       82.     If ASH-GH declines to purchase the Future ROFO Lots, Erickson may accept a

bona fide offer from an unrelated third party; however, Erickson again may not sell to the unrelated




                                                18
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 19 of 60




third party for less than the ROFO price offered to ASH-GH or on terms that are more favorable

than the terms offered to ASH-GH. Id. § 14.

       83.     If Erickson does not accept a bona fide, arms-length offer from an unrelated third

party within 120 days, then Erickson must again initiate the written ROFO process for the Future

Lots by providing a new ROFO to ASH-GH. Id. § 14.

       84.     Erickson must offer all Future Lots to ASH-GH “for the period through and

including one (1) year after Erickson is no longer an employee, director, owner, officer, or member

of [ASH-GH] or [ASHH].” Id. § 14(e). Erickson is presently a member of ASHH.

                       d.     Lot and Subdivision Development Standards and Conditions

       85.     Erickson is required to deliver the Lots subject to certain development standards.

See generally id. §§ 20-24. Erickson agreed to “complete the development of the Lots and the

Subdivisions in accordance with this Agreement at [his] sole cost and expense,” subject to a variety

of enumerated conditions. Id. §§ 22, 23.

       86.     The LPA provides that “prior to the closing for each Lot Takedown, Buyer shall

have the right to investigate the condition of the Lots, and [Erickson] shall have the obligation to

provide access to all documents pertaining to the Lots if requested by Buyer.” Id. § 20. Following

such a walk-through, “Seller shall utilize commercially reasonable efforts to remediate such

condition in a timely manner and if not promptly cured by Seller, Buyer may postpone the purchase

of the Finished Lots or waive any such condition but which will not alleviate Seller from its

obligations per [the LPA].” Id.

       87.     The LPA further provides that, at the closing for each lot, “there shall be no

condition affecting any Finished Lot to be purchased that would prohibit Buyer from obtaining a




                                                19
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 20 of 60




building permit to construct a house on such Finished Lot or from obtaining a certificate of

occupancy for the house once completed.” Id. § 21.

       B.      Misappropriation of ASHH’s Confidential Business Information

       88.     Since the Acquisition in 2019, Erickson has been intimately and extensively

involved in ASHH’s business operations. As a result, Erickson gained valuable and unique insight

into ASHH’s competitively sensitive and confidential business, strategy, and operations.

       89.     As already explained, Erickson served as a member of the ASHH Board from

November 15, 2019 until his resignation in December 2020.

       90.     As a consultant to ASHH, Erickson focused on ASHH’s acquisition strategy, as

well as due diligence on potential acquisition targets.

       91.     In late October 2020, after pressuring for the removal of the prior CEO and

jockeying for the interim CEO title, Erickson became ASHH’s interim CEO. Erickson was

appointed to serve as interim CEO for six months, until ASHH hired a permanent CEO.

       92.     Nevertheless, Erickson immediately began to lobby and pressure ASHH to appoint

him as permanent CEO, and he demanded a generous compensation and benefits package. In

making these demands, Erickson used confidential information and details of other ASHH and

ASH entities’ executive compensation and benefit packages.

       93.     As a member of the ASHH Board, as a consultant to ASH, and as the interim CEO

of ASHH, Erickson had frequent and regular access to ASH’s confidential and competitively

sensitive business information.

       94.     In his December 20, 2020 resignation letter, Erickson explained that he had decided

to resign as ASHH’s interim CEO and from the Board because he “developed ambitions to do

more things in the home building and development business and feel[s] that [his] board




                                                 20
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 21 of 60




responsibility with ASH are likely to constitute a conflict of interest[] with those goals and

possibilities.”

        95.       In his December 30, 2020 letter, Erickson expounded on his intent to compete with

ASHH, stating that he planned to “purchase one or more home building companies in the near

term for my own investments. If that step should go well, I may consider doing additional

purchases in the future.”

        96.       In actuality, Erickson had already begun to compete with ASHH, using its

confidential and proprietary assets to do so.

        97.       For example, during negotiations with Dorn in fall 2020, ASHH considered

increasing its purchase price offer. Erickson dissuaded ASHH from increasing its offer and then

attempted to purchase Dorn on his own, before becoming the interim CEO. Ultimately, when

ASHH closed the Dorn acquisition, it paid more than it otherwise would have paid if Erickson had

not interfered and misused ASHH’s confidential information for his own personal benefit.

        98.       In another example, since resigning as ASHH’s interim CEO and from the ASHH

Board, Erickson has attempted to acquire a builder in Austin, Texas. Erickson learned of and

developed contacts with this builder during his tenure with ASHH, and he then used such

confidential information in an attempt to acquire the builder. For example, during his tenure as

ASHH’s interim CEO, Erickson traveled to Austin, Texas with other ASHH executives to meet in

person with the owner of the business.

        99.       As another example, on or about January 25, 2021, Erickson contacted a recently

hired employee of ASHH and solicited him for employment. Erickson was aware of ASHH’s

recruitment of that individual, having interviewed the new employee before he resigned and having

attempted to sabotage ASHH’s recruitment by offering him a “demotion” to work for ASHH,




                                                 21
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 22 of 60




despite the fact that he was being considered for a senior executive position. Erickson had no other

relationship with this new ASHH employee. Nevertheless, Erickson solicited this individual to

assist with his efforts to acquire the builder in Texas.

       100.    Upon information and belief, Erickson also made offers of employment to other

ASH personnel, including at its corporate headquarters and in the Columbus, Georgia area.

       101.    Moreover, Erickson prepared and distributed a draft business plan for the company

he formed to begin his strategy of acquiring homebuilders in competition with ASHH, which he

has apparently named “Grand Oak Builders.” Prior to joining ASH, Erickson’s business was

limited to developing raw land into lots and building homes in a local market. After approximately

a year working with ASH, however, he decided to form a holding company that, like ASH, is in

the business of acquiring and operating homebuilding companies.

       102.    The business plan is strikingly similar to, and plagiarizes from, ASHH’s Private

Placement Memorandum related to its acquisition of Dorn (“ASH Dorn PPM”). For example:

                    ASH Dorn PPM                           Grand Oaks Business Plan

         Focus on markets that are growth           Focus on the Southern US area that is
         oriented, with consistent job growth       business-friendly, characterized by
         and demographics favorable to              strong job growth, and as a result has a
         continued new home construction.           dynamic and growing housing market.
         Capitalize on significant arbitrage        Capitalize on the significant value
         between small and large builders that      delta between private, small scale
         exist in the industry (because small       builders and large builders (small
         single-market builders trade at material   single market builders routinely trade
         discounts to larger multi-market and       at significant discounts from large
         public homebuilders).                      multi-market and publicly traded
                                                    builders).

       103.    Erickson’s draft business plan describes his planned formation of a “new home

construction holding company,” Newco Homes, in which Erickson is the CEO. Erickson’s plan

states that he is “driving the vision for Newco Homes,” and his business plan describes him as a




                                                  22
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 23 of 60




“long term builder/developer” who sold “his company Grayhawk Homes, Inc. in 2019” and

achieved “routinely enviable business performance.”

       104.    His business plan states that “Newco Homes is being formed to take advantage of

the many opportunities to purchase, capitalize, and operate small to mid-size builders with the

purpose of gaining market share, drive better organization and operate at higher degrees of

efficiency....” Newco Homes will “operate from the Columbus[,] Georgia offices of David

Erickson [and] as additional scale is achieved, Newco will stand up its own office.”

       105.    This is the same business conducted by ASHH, with which Erickson had little or

no experience before he joined ASHH as a member and served as a consultant, director, and interim

CEO. Accordingly, Grand Oak Builders is a vehicle for Erickson to compete with ASHH using

its confidential and competitively sensitive business information, including in his business plan,

learned during his stint with ASH.

       106.    Thus, Erickson has used ASHH’s confidential information: (a) in an attempt to

purchase Dorn on his own (after dissuading ASHH from increasing its offer); (b) to plagiarize an

ASHH document for use as a business plan; (c) in an attempt to acquire a Texas builder that

Erickson learned about through his positions with ASHH; (d) to solicit a recently-hired ASHH

employee to assist with his potential acquisition of the builder in Texas; (e) to solicit other ASH

employees; and (f) to compete with ASH via Grand Oak Builders.

       107.    These activities all breach Erickson’s confidentiality obligations to ASH, set forth

in various agreements. Ex. 5, Consulting Agreement § 7; Ex. 6, Employment Agreement §§ 6.01,

6.02. Upon information and belief, these are not the only instances in which Erickson has

misappropriated ASHH’s confidential information for his own use and personal gain.




                                                23
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 24 of 60




       C.       Non-Compete Violations

       108.     In addition to the formation of Grand Oak Builders, until at least January 2021,

Erickson operated a competitive homebuilding operation through an entity named “Grayhawk

Homes of Atlanta Corporation,” which is not affiliated with ASH.

       109.     According to property records and other publicly available information, “Grayhawk

Homes of Atlanta” has sold dozens of homes in two subdivisions—the Gates at Amberhill and the

Reserve at Timberlands—in or near Dallas, Georgia during the period since November 15, 2019.

According to public records, the sale of these homes appear to have generated revenue of at least

$7,902,287.

       110.     “Grayhawk Homes of Atlanta” also built four additional homes in Dallas, Georgia

that were listed for sale with an aggregate list price of $1,406,359.

       111.     In addition, Erickson owns 32 more lots (including many with active building

permits) in or around Dallas, Georgia.

       112.     All of these homes and lots are within 100 miles of Atlanta, Georgia.

       113.     Erickson’s continued operation of “Grayhawk Homes of Atlanta,” plus Erickson’s

operation of Grand Oak Builders or “Newco Homes” in Columbus, Georgia, violate the restrictive

covenant in Section 6.5 of the APA, which provides that “none of Seller, D. Erickson, or R.

Erickson shall participate in a competitive homebuilding operation or business within 100 miles

of the geographic markets of each Seller as of the Closing Date, which shall include Columbus,

Georgia; Atlanta, Georgia; Macon, Georgia; Dothan, Alabama; and Montgomery, Alabama.” Ex.

1, APA § 6.5.




                                                 24
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 25 of 60




       D.      Unauthorized Use of the Grayhawk Trademark, Trade Name and Trade Dress

       114.    Since the Acquisition, Erickson, individually and on behalf of the other Defendants,

has continued to operate and conduct business using the Grayhawk trademark and trade name,

including as “Grayhawk Homes of Atlanta” and “Grayhawk Homes of South Carolina.”

       115.    As explained above, ASH acquired extensive intellectual property rights on

November 15, 2019. Id. § 1.1(j). Such intellectual property includes “copyrights, trademarks,

service marks, trade names [...] and goodwill associated therewith.” Id. § 12.1(v).

       116.    The Trademark Assignment Agreement explicitly conveyed to ASH-GH “all

worldwide right, title, and interest in, to, and under all Trademarks, including, without limitation,

any and all common law rights thereto and the goodwill of the Business....” Ex. 3, Trademark

Assignment Agreement § 1. “Trademarks” is defined to include “trademarks, service marks, trade

names[,] brand names, logos and corporate names, slogans[,] whether or not registered...” Id.,

Recital B.

       117.    Nevertheless, the Grayhawk trademark, trade name and logo appeared on materials

provided to the public, brokers, realtors, and others related to the sale of homes constructed by

Grayhawk Homes of Atlanta and Grayhawk Homes of South Carolina. In most instances, Erickson

either left the “Grayhawk Homes” trademark, trade name and logo as is or used a modified version

that simply appended “of Atlanta” or “of South Carolina” after “Grayhawk Homes.”

       118.    Erickson’s use of the Grayhawk trademark, trade names and logo has caused

confusion and mistake by potential home buyers and the general public. For example, on the

“Grayhawk Homes” Yelp and Build Zoom webpages, an individual posted two January 11, 2020

one-star comments about “issues with this company [i.e., Grayhawk Homes] after buying one of

their spec homes in Bluffton, SC.” See https://www.yelp.com/biz/grayhawk-homes-columbus

(last visited March 12, 2021); https://www.buildzoom.com/contractor/grayhawk-homes-inc-


                                                 25
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 26 of 60




beallwood (last visited March 12, 2021) (containing identical review). ASH-GH has not built or

sold any homes in South Carolina.       As evidenced by the review, this individual confused

Erickson’s “Grayhawk Homes of South Carolina” entity with ASH’s “Grayhawk Homes.”




       E.      Unauthorized Use of Copyrighted Building Plans

       119.    In addition, Erickson, individually and on behalf of the other Defendants, is

developing, building, and selling homes using copyrighted plans owned by ASH-GH, in both

Georgia and South Carolina.

                  1.    Georgia Copyright Violations

                       a.     Sycamore Plan

       120.    Erickson used the “Sycamore” plan on at least one lot: 827 Pine Way, Dallas,

Georgia. The Sycamore plan is registered with the U.S. Copyright Office and is specifically listed


                                               26
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 27 of 60




on Schedule 1 of the Copyright Assignment Agreement. Attached hereto as Ex. 7 are the

“Sycamore” copyrighted plans, “ATL-Sycamore” plans ASH-GH obtained through the

Acquisition, documents demonstrating Erickson’s infringement, and property records.

       121.    Figure 1 below is a screenshot of the Re/Max listing (MLS #8912570) for the sale

of the property at 827 Pine Way, Dallas Georgia. The listing description states: “Welcome to the

Sycamore!” The only images used in the MLS listing are the copyrighted Grayhawk Building

Plans; Erickson (and his agents) have no right to use these copyrighted materials.




       122.    Figure 2a below is a partial screenshot of the Sycamore plan copyright, which has

been filed and registered with the U.S. Copyright Office, Registration No. VAu 1-371-683, August

21, 2019.




                                                27
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 28 of 60




       123.   Figure 2b below is a zoomed-in and rotated screenshot from Figure 2a that shows

the “Grayhawk Homes, Inc.” logo and copyright notice, which states as follows: “[A]ll drawings

and material appearing herein constitute the original and unpublished work of Grayhawk Homes

and the same or any part thereof may not be duplicated, distributed, disclosed, or used in any

manner without the written consent of Grayhawk Homes. Penalties shall apply when user

duplicates Grayhawk Homes work, without Grayhawk Homes’ written consent.”




                                             28
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 29 of 60




       124.   Figure 2c below is a partial screenshot of the “ATL-Sycamore” plan, which is a

substantially similar and derivative work to the “Sycamore” plan in Figure 2a. Further, Figure 2c

comprises part of the Copyrights ASH-GH obtained as part of the Acquisition under the APA and

Copyright Agreement.




                                               29
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 30 of 60




       125.    Figure 3a below is a screenshot from the same MLS listing shown in Figure 1 that

is identical or nearly identical to Figure 2a and also Figure 2c.




       126.    Figure 3b below is a zoomed-in and rotated screenshot from the same listing shown

in Figure 1 and Figure 3a that more clearly shows Erickson’s use of the copyrighted Sycamore

plan, on which is added “of Atlanta, Inc.” below “Grayhawk.” The image contains the same

copyright notice as in the registered copyrighted plans shown in Figure 2b.




                                                 30
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 31 of 60




                        b.    Elmwood Plan

       127.    Erickson used the “Elmwood” plan on at least three lots including the following:

81 Cedar Ridge Way, Dallas, Georgia; 31 White Spruce Trail, Dallas Georgia; and 136 Grand Oak

Trail, Dallas, Georgia. The Elmwood plan is registered with the U.S. Copyright Office and listed

on Schedule 1 of the Copyright Assignment Agreement, Registration No. VAu 1-371-515, August

21, 2019.

                        c.    Longleaf Plan

       128.    Erickson used the “Longleaf” plan on at least four lots including the following: 853

Pine Way, Dallas, Georgia; 794 Pine Way, Dallas, Georgia; 795 Pine Way, Dallas, Georgia; and

596 Pine Way, Dallas, Georgia. The Longleaf plan is registered with the U.S. Copyright Office

and listed on Schedule 1 of the Copyright Assignment Agreement, Registration No. VAu 1-371-

701, August 21, 2019.

                        d.    Marshall Plan

       129.    Erickson used the “Marshall” plan on at least one lot: 153 Amberhill Court, Dallas,

Georgia. The “Marshall” plan is among the copyrights assigned to ASH-GH, insofar as it was

owned by Grayhawk Homes, Inc. prior to November 15, 2019. Nevertheless, on or about

December 10, 2020 and while still serving as ASHH’s interim CEO, Erickson improperly filed for

registration with the U.S. Copyright Office a “BP-Marshall” plan that lists “Grayhawk Homes,

Inc.” as the copyright claimant and himself as holding the rights and permissions (Registration No.

VAu001384084).

                        e.    Poplar Plan

       130.    Erickson used the “Poplar” plan on at least one lot: 15 White Spruce Trail, Dallas,

Georgia. The Poplar plan is registered with the U.S. Copyright Office and listed on Schedule 1 of




                                                31
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 32 of 60




the Copyright Assignment Agreement, Registration No. VAu 1-371-720, August 21, 2019.

                     f.      Coventry Plan

       131.   Erickson used the “Coventry” plan on at least two lots: 822 Pine Way, Dallas,

Georgia; and 576 Pine Way, Dallas, Georgia. The Coventry plan is registered with the U.S.

Copyright Office and listed on Schedule 1 of the Copyright Assignment Agreement, Registration

No. VAu 1-371-635, August 21, 2019.

                     g.      Birch Plan

       132.   Erickson used the “Birch” plan on at least three lots: 918 Pine Way, Dallas,

Georgia; 848 Pine Way, Dallas, Georgia; and 544 Pine Way, Dallas, Georgia. The Birch plan is

registered with the U.S. Copyright Office and listed on Schedule 1 of the Copyright Assignment

Agreement, Registration No. VAu 1-371-311, August 21, 2019.

                     h.      Alder Plan

       133.   Erickson used the “Alder” plan on at least two lots: 99 Grand Oak Trail, Dallas,

Georgia; and 77 White Spruce Trail, Dallas, Georgia. The Alder plan is registered with the U.S.

Copyright Office and listed on Schedule 1 of the Copyright Assignment Agreement, Registration

No. VAu 1-371-080, August 21, 2019.

                     i.      Jasmine Plan (Atlanta)

       134.   Erickson used the “Jasmine” plan on at least one lot: 229 Pine Way, Dallas,

Georgia. The Jasmine plan is registered with the U.S. Copyright Office and listed on Schedule 1

of the Copyright Assignment Agreement, Registration No. VAu 1-371-738, August 21, 2019.

                     j.      River Oak Plan

       135.   Erickson used the “River Oak” plan on at least one lot: 61 Grand Oak Court, Dallas,

Georgia. The River Oak plan is registered with the U.S. Copyright Office and listed on Schedule




                                              32
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 33 of 60




1 of the Copyright Assignment Agreement, Registration No. VAu 1-371-718, August 21, 2019.

       136.   Figures 1, 3a, and 3b are representative of the Georgia listings. For every address

listed herein, Erickson duplicated, disclosed, and used ASH-GH’s copyrighted plans, ASH-GH’s

derivative plans, or created derivative plans without ASH-GH’s consent.

              2.     South Carolina

                     a.      Willow Plan

       137.   Erickson used the “Willow” plan on at least one lot: 118 Waters Edge, Moncks

Corner, South Carolina. The Willow plan is registered with the U.S. Copyright Office and listed

on Schedule 1 of the Copyright Assignment Agreement, Registration No. VAu 1-371-700, August

21, 2019. Attached hereto as Ex. 8 are the “Willow” copyrighted plans, “SC-Willow” plans ASH-

GH obtained through the Acquisition, documents demonstrating Erickson’s infringement, and

property records.

       138.   Figure 4 below is a screenshot of the Agent Owned listing (MLS #20028673) for

the property at 118 Waters Edge Lane, Moncks Corner, South Carolina. Several of the images

used in the listing are the copyrighted Grayhawk Building Plans; Erickson (and his agents) have

no right to use these copyrighted materials. The listing begins: “Two Story “Willow” floor plan

now under construction.”




                                              33
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 34 of 60




       139.    Figure 5a below is a partial screenshot of the Willow plan, the registered copyright

noted above.




                                                34
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 35 of 60




       140.   Figure 5b below is a zoomed-in and rotated screenshot from Figure 5a that shows

the “Grayhawk Homes, Inc.” logo and states as follows: “[A]ll drawings and material appearing

herein constitute the original and unpublished work of Grayhawk Homes and the same or any part

thereof may not be duplicated, distributed, disclosed, or used in any manner without the written

consent of Grayhawk Homes. Penalties shall apply when user duplicates Grayhawk Homes work,

without Grayhawk Homes’ written consent.”




                                              35
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 36 of 60




       141.   Figure 5c below is a partial screenshot of the “SC-Willow” plan, which is a

substantially similar and derivative work to the “Sycamore” plan in Figure 5a. Further, Figure 5c

comprises part of the Copyrights ASH-GH obtained as part of the Acquisition under the APA and

Copyright Assignment Agreement.




       142.   Figure 6a below is a screenshot from the same MLS listing shown in Figure 4.




                                               36
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 37 of 60




       143.    Figure 6b below is a zoomed-in screenshot of two images from the same listing

shown in Figure 4 and Figure 6a, which more clearly shows Erickson’s manipulation and use of

the copyrighted Willow plan by adding “of South Carolina, Inc.” below “Grayhawk.” The image

also contains the same copyright notice as in the filed and registered copyrighted plans, as shown

in Figure 5b, and states as follows: “Copyright Grayhawk Homes Inc. not to be reproduced without

permission of Grayhawk Homes Inc.”




                                               37
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 38 of 60




                        b.   Cardinal Plan

       144.   Erickson used the “Cardinal” plan on at least one lot: 2243 Arthur Gaillard Lane,

Charleston, South Carolina. The Cardinal plan is filed with the U.S. Copyright Office and listed

on Schedule 1 of the Copyright Assignment Agreement. If necessary, ASH intends to amend this

Complaint upon issuance of the registration.

                        c.   Carolina Plan

       145.   Erickson used the “Carolina” plan on at least one lot: 2164 Military Way,

Charleston, South Carolina. The Carolina plan is registered with the U.S. Copyright Office and

listed on Schedule 1 of the Copyright Assignment Agreement, Registration No. VAu 1-033-819,

May 11, 2010; Registration No. VAu 1-027-014, May 5, 2010.

                        d.   Jasmine Plan (South Carolina)

       146.   Erickson used the “Jasmine” plan on at least one lot: 119 Waters Edge Lane,

Moncks Corner, South Carolina. The Jasmine plan is registered with the U.S. Copyright Office

and listed on Schedule 1 of the Copyright Assignment Agreement, Registration No. VAu 1-371-

738, August 21, 2019.

                        e.   Folly Plan

       147.   Erickson used the “Folly” plan on at least two lots: 112 Waters Edge, Moncks

Corner, South Carolina; and 2160 Military Way, Charleston, South Carolina. The “Folly” plan is




                                               38
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 39 of 60




among the copyrights assigned to ASH-GH or is a derivative work.

                        f.    Cooper Plan

       148.    Erickson used the “Cooper” plan on at least one lot: 116 Waters Edge, Moncks

Corner, South Carolina. The “Cooper” plan is among the copyrights assigned to ASH-GH or is a

derivative work.

                        g.    Crane Plan

       149.    Erickson used the “Crane” plan on at least one lot: 121 Waters Edge, Moncks

Corner, South Carolina. The “Crane” plan is among the copyrights assigned to ASH-GH or is a

derivative work.

                        h.    Cape Plan

       150.    Erickson used the “Cape” plan on at least one lot: 2201 Arthur Gaillard Lane,

Charleston, South Carolina. The “Cape” plan is among the copyrights assigned to ASH-GH or is

a derivative work.

                        i.    Sullivan Plan

       151.    Erickson used the “Sullivan” plan on at least one lot: 2203 Arthur Gaillard Lane,

Charleston, South Carolina. The “Sullivan” plan is among the copyrights assigned to ASH-GH or

is a derivative work.

       152.    Figures 4, 6a, and 6b are representative of the South Carolina listings. For every

address listed herein, Erickson duplicated, disclosed, and used ASH-GH’s copyrighted plans, or

created derivative plans without ASH-GH’s consent.

       F.      Erickson Has Not Complied With The LPA

               1.       Lot Development Standards

       153.    In the LPA, Erickson “covenant[ed] and agree[ed] to pay for and be obligated for

the costs of the development of the Lots and the Subdivision.” Ex. 2, LPA § 24.


                                               39
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 40 of 60




       154.    As stated above, the LPA provides that, at the time of each lot closing, there “shall

be no condition affecting any Finished Lot to be purchased that would prohibit [ASH-GH] from

obtaining a building permit to construct a house on such Finished Lot or from a certificate of

occupancy for the house once completed.” Id. § 21.

       155.    The LPA also spells out various requirements in order for Erickson to sell the

homes to ASH-GH and to be credited as part of the Takedown Schedule, including: development

specifications, engineering standards, utility line construction and installation, interior roads and

sidewalks, drainage and sewers, grading, curbs and gutters, etc. Id. §§ 22, 23.

       156.    After Erickson delivered a series of lots that did not comply with such requirements,

causing ASH-GH to incur remediation costs that should have been borne by Erickson, ASH-GH

engaged a neutral-third party, Barrett-Simpson, Inc., to assess the conditions of certain lots within

the Garrett Pines, Lexington Hills, and Riverbrook subdivisions using the development criteria set

forth in the LPA. This neutral third party has prepared reports identifying numerous instances in

which Erickson has developed lots that do not comply with the criteria set forth in the LPA.

       157.    ASH identified these certain issues to Erickson in a February 17, 2021 letter.

       158.    Despite having identified these certain issues to Erickson, Erickson did not

“promptly cure[]” the deficiencies, as required by the LPA.

               2.      Phase A “Finished Lots”

       159.    In addition, pursuant to the Takedown Schedule, Erickson was to deliver and ASH-

GH was to purchase 25 Phase A Lots in the quarter ending on March 31, 2021. Erickson did not,

however, deliver 25 Phase A Lots to meet his obligations under the Takedown Schedule. Instead,

Erickson provided only 15 Phase A Lots, putting him in default under the LPA.




                                                 40
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 41 of 60




       160.    Ironically, as ASH-GH attempted to work through this issue with Erickson, he

insisted that ASH-GH had defaulted on the LPA by declining to take down four lots that did not

meet the requirements for a “Finished Lot” under the LPA and could not be used to build homes

without substantial remediation by ASH-GH.

       161.    Two of the four lots at issue (9812 and 9220 Garrett Lake Drive) were not cleared

of trees, feature steep slopes to a running creek, are located in a flood zone, and did not contain

finished building pads. The other two lots at issue (268 and 272 Solamere Lane) were uncleared

and overgrown with brush, and they did not contain finished building pads; in addition, Erickson

has known since January 2017 that the City of Auburn would not issue a building permit on the

lots without additional drainage work specified by the City, but such work was never performed.

       162.    The LPA makes clear that ASH-GH has no obligation to take down “any Finished

Lot” with issues that could preclude the issuance of a building permit or certificate of occupancy

(§§ 15 & 21), requires Erickson to make “commercially reasonable efforts” to remediate non-

conforming “Finished Lots” before ASH-GH takes down such lots (§ 20), places no obligation on

ASH-GH to take down a lot if part of the building envelope is in a flood plain (§ 22(k)), and

requires specific drainage and grading standards (§ 23). Together and in combination, these terms

all relieved ASH-GH of any obligation to take down the four lots.

       163.    Nevertheless, Erickson insisted that ASH-GH take down such lots as a condition to

take down different lots ASH-GH was otherwise entitled to purchase.

               3.     Lot Takedowns

       164.    As explained above, Erickson “is required to develop the Lots in accordance with

[the LPA] and to satisfy the requirements of the Takedown Schedule.” Ex. 2, LPA § 10 &

Schedule 1. Section 6 of the LPA requires Erickson to deliver lots for sale to ASH-GH pursuant




                                                41
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 42 of 60




to the Takedown Schedule, and it states expressly that the Takedown Schedule sets forth “the

minimum number of Lot closings” required of ASH-GH on a quarterly basis (with ASH to receive

credit toward future takedowns if it is ahead of schedule). Id. § 6.

       165.    Thus, the LPA expressly contemplates that ASH will have the opportunity to

purchase more than the minimum number of finished lots set forth in the Takedown Schedule, to

the extent such lots are finished and available to purchase. ASH-GH has done so throughout the

term of the LPA, putting it ahead of the Takedown Schedule for Phase B and C Lots.

       166.    Erickson periodically provides to ASH-GH a list of lots that are released for

purchase, after they have been fully developed, platted, and assigned addresses. From the outset

of the relationship between ASH and Erickson, ASH-GH has made such lots available to its sales

agents (who operate under the auspices of Rose Anne Erickson Realty, an agency owned and

controlled by Erickson’s wife) to offer to prospective homebuyers. When a customer enters into

a contract to purchase a home on such a lot, ASH-GH schedules a takedown and purchases the lot

from Erickson or one of the Erickson Entities before it begins construction.

       167.    At the time of filing, Erickson had finished developing approximately 160 Phase B

lots and approximately 38 Phase C lots, all of which have been released for purchase to ASH-GH.

Upon information and belief, an additional 200-250 Phase C lots are in development and close to

being completed. Pursuant to the LPA and confirmed by historical practice, ASH-GH should be

able to take down any lots released for purchase by Erickson, regardless of whether it has already

reached the minimum number of quarterly takedowns set forth in the Takedown Schedule.

       168.    In recent months, however, Erickson has blocked ASH-GH from taking down such

lots as a result of disputes between the parties and in breach of the LPA. Upon information and




                                                42
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 43 of 60




belief, Erickson has no economic incentive to block the purchase of such lots and delay the

recovery of his investments in development, except perhaps to gain negotiating leverage.

                                 COUNT ONE
                   BREACH OF CONFIDENTIALITY OBLIGATIONS –
              EMPLOYMENT AGREEMENT, AND CONSULTING AGREEMENT
                               (Against Erickson)

        169.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

        170.    The Consulting Agreement is a valid, binding, and enforceable contract between

ASH and Erickson.

        171.    Erickson is bound by the confidentiality provisions of the Consulting Agreement,

whereby Erickson acknowledged that “he will receive or have access to certain non-public,

proprietary, and/or confidential information relating to the business and affairs of [ASH], including

trade secrets, know how, research and development, databases...” Ex. 5, Consulting Agreement §

7.

        172.    Erickson “agree[d] and acknowledge[d] that such ‘Confidential Information’ shall

be subject to the terms and obligations described in [Employment Agreement §§ 6.00, et seq.].”

        173.    The Employment Agreement is a valid, binding, and enforceable contract between

ASH and Erickson.

        174.    The Employment Agreement requires Erickson to protect all “Confidential

Information” of ASH and use such information “only in connection with the carrying out of duties

and responsibilities under the [Employment Agreement].” Ex. 6, Employment Agreement § 6.02.

        175.    Erickson agreed that a “breach of the covenants contained in [§ 6.02] would result

in irreparable harm to [ASH] and that monetary damages alone would be an inadequate remedy.”

Id. § 6.05.

        176.    Erickson has used and continues to use ASH’s confidential information for his own



                                                 43
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 44 of 60




purposes, and not in connection with any legitimate duty or responsibility to ASH, including when

he (a) attempted to purchase Dorn Homes after dissuading ASHH from increasing its offer price

(with knowledge of ASHH’s offer and negotiations); (b) attempted to purchase a Texas-based

homebuilder using ASHH contacts and information obtained in his various positions at ASHH; (c)

solicited an ASHH employee after interviewing that same employee during his tenure with ASHH;

and (d) copied language from the Dorn Homes PPM for use in a draft business plan.

        177.   Each of these examples is a breach of Erickson’s confidentiality obligations. Taken

together, Erickson’s conduct is particularly egregious.

        178.   Upon information and belief, there are other violations of Erickson’s confidentiality

obligations of which ASH is not currently aware and which will be revealed through discovery in

this action.

        179.   Accordingly, ASH is entitled to an injunction prohibiting Erickson from engaging

in such offending conduct, as well as damages (in an amount to be determined at trial) resulting

from Erickson’s willful misconduct, gross negligence in connection with ASH’s business and

affairs, and material breaches of the Consulting Agreement and Employment Agreement.

                                       COUNT TWO
                             BREACH OF CONTRACT - LPA
                          (Against Erickson, GH Lot Holdings, Inc.)

        180.   ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

        181.   The Land Purchase Agreement (Ex. 2) is a valid, binding, and enforceable contract

among and between ASH, Erickson, Rose Anne Erickson, and certain of the Erickson Entities,

including GH Lot Holdings, Inc. f/k/a Grayhawk Homes, Inc.

        182.   ASH has complied with the terms and obligations of the LPA.




                                                44
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 45 of 60




       183.    As explained herein, Erickson, individually and on behalf of GH Lot Holdings, Inc.,

has failed and refused to comply with the terms and obligations of the LPA.

       184.    First, Erickson is developing and delivering lots to ASH-GH that do not conform

with the development standards contained in Sections 21-25 of the LPA.

       185.    Second, Erickson has demanded that ASH-GH provide an additional deposit for

Phase C Lots, which is not contemplated in the LPA. Indeed, ASH-GH has already made a $2.5

million deposit as required by the LPA.

       186.    Third, upon information and belief, Erickson has inflated the prices for Phase C

ROFO Lots above the “actual costs” of development, by over-paying an entity in which he has an

ownership stake.

       187.    Fourth, Erickson has refused to permit ASH-GH to take down lots that are fully

developed and have been released for purchase.

       188.    Finally, the LPA requires that any future lots that Erickson acquires or develops in

Georgia or Alabama (“Future ROFO Lots”) must be first offered to ASH-GH. Ex. 2, LPA § 14.

According to property records and publicly available information, Erickson has developed and

offered for sale at least 58 lots in and around Dallas, Georgia since the Acquisition, none of which

were offered to ASH.

       189.    In oral communications throughout 2020 and in letters dated February 17, 2021 and

March 23, 2021, ASH-GH provided Erickson with notice that Erickson was failing to comply with

certain terms of the LPA.

       190.    Unless the default is cured within 15 days of providing a formal notice of default,

ASH-GH’s $2.5 million deposit “shall promptly be returned” to ASH by Erickson, ASH “shall

have no further obligation to make Deferred Payments” to Erickson, and ASH may pursue other




                                                45
          Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 46 of 60




rights or remedies, including “specific performance to compel [Erickson] to improve and/or sell

the Lots to [ASH] and recovering all monetary damages and lost profits arising from [Erickson’s]

default.” Id. § 35(c)(i)-(iii).

        191.    Erickson and GH Lot Holdings, Inc. are in breach of the LPA, and ASH is entitled

to specific performance, monetary damages, and lost profits in an amount to be determined at trial.

                                  COUNT THREE
                     BREACH OF CONTRACT - APA (NON-COMPETE)
                                 (Against Erickson)

        192.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

        193.    The Asset Purchase Agreement (Ex. 1) is a valid, binding, and enforceable contract

between ASH and Erickson.

        194.    The APA restricts Erickson, for a three-year period extended by the duration of any

breach, from “participat[ing] in a competitive homebuilding operation or business within 100 miles

of the geographic markets of [ASH] as of the [November 15, 2019], which shall include Columbia,

Georgia; Atlanta, Georgia; Macon, Georgia; Dothan, Alabama; and Montgomery, Alabama.” Ex.

1, APA § 6.5(a). This restrictive covenant remains in effect.

        195.    Erickson has breached these non-compete provisions by building and selling homes

in and around Dallas, GA, which is less than 100 miles from Atlanta, and by operating competitive

homebuilding operations in Columbus, GA, which is the headquarters for “Grand Oak Builders”

(or “Newco Homes”), Grayhawk Homes of Atlanta, and Grayhawk Homes of South Carolina.

        196.    Since November 2019, Erickson has sold dozens of homes in or near Dallas,

Georgia, totaling at least $7,902,287. Erickson has developed additional homes in Dallas, Georgia

that are listed for sale as of the date of this filing. Erickson also owns additional lots with active

building permits.




                                                 46
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 47 of 60




       197.    All of these homes and lots are within 100 miles of Atlanta, Georgia.

       198.    Each of these activities—including the building, development, listing, and sale of

the homes—constitutes a separate and distinct breach of Erickson’s non-compete obligations.

       199.    ASH is entitled to an injunction against Erickson to cease such offending conduct

as well as damages (in an amount to be determined at trial) as result of Erickson’s breach of Section

6.5 of the APA.

                               COUNT FOUR
        BREACH OF CONTRACT - COPYRIGHT ASSIGNMENT AGREEMENT
                       (Against GH Lot Holdings, Inc.)

       200.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       201.    The Copyright Assignment Agreement is a valid, binding, and enforceable contract

between and among ASH-GH and certain of the Erickson Entities, including GH Lot Holdings,

Inc. f/k/a/ Grayhawk Homes, Inc. ASH-GH owns all right, title, and interest in and to the

Grayhawk Building Plans. See Ex. 4, Copyright Assignment Agreement § 1.

       202.    Pursuant to Section 1 of the Copyright Assignment Agreement, GH Lot Holdings,

Inc. and certain of the other Erickson Entities, “s[old], assign[ed], convey[ed], and transfer[red]”

to ASH, and ASH “purchase[d], acquire[d], accept[ed], and assum[ed]” from Erickson, “all

worldwide right, title, and interest in, to, and under all Copyrights, whether registered or

unregistered, and all elements thereof.”

       203.    This assignment included, “without limitation, any and all derivative works of any

of the foregoing and all privileges and goodwill associated with the Copyrights.” Id.

       204.    Accordingly, GH Lot Holdings, Inc. has no right, title, interest, or proper basis to

use any of ASH-GH’s Copyrights, including the Grayhawk Building Plans.




                                                 47
           Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 48 of 60




          205.    Nevertheless, GH Lot Holdings, Inc., through Erickson, continues to use ASH-

GH’s Copyrights, including the Grayhawk Building Plans, to build homes and by duplicating,

distributing, and displaying the Copyrights, significant portions of the Copyrights, or improper

derivatives of the Copyrights.

          206.    GH Lot Holdings, Inc.’s conduct constitutes a breach of the Copyright Assignment

Agreement, and ASH-GH is entitled to an injunction and monetary damages, including lost

goodwill and profits, in an amount to be determined at trial.

                                        COUNT FIVE
                                 COPYRIGHT INFRINGEMENT
                                    (Against All Defendants)

          207.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

          208.    ASH-GH owns all right, title, and interest in and to the Grayhawk Building Plans.

See id.

          209.    These copyrighted plans have been filed and registered with the U.S. Copyright

Office, and the Copyright Assignment Agreement has been recorded against all registered

copyrights listed on Schedule 1 of the Copyright Assignment Agreement. The copyrighted

material is original and fixed in a tangible medium of expression.

          210.    Erickson, individually and on behalf of all Defendants, has infringed ASH-GH’s

copyrights, without ASH-GH’s authorization, by duplicating, distributing, displaying, and using

significant copyrightable portions of the Grayhawk Building Plans, or, alternatively, making an

unauthorized derivative work that is based upon and copies substantial portions of the copyrighted

subject matter.

          211.    Defendants have acted knowingly and willfully, in conscious disregard of the rights

of ASH-GH.




                                                  48
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 49 of 60




       212.    Erickson has previously acknowledged that the improper use and disclosure of such

information would constitute irreparable harm. See Ex. 6, Employment Agreement § 6.05.

       213.    In addition to this irreparable harm, Defendants have been unjustly enriched as a

direct and proximate result of their wrongful acts.

       214.    ASH-GH has suffered damages and prays for either (a) disgorgement of all profits

from Defendants’ infringement of the copyrighted works, including without limitation the sale of

homes built using the Grayhawk Building Plans (and any derivative works) or (b) statutory

damages of up to $150,000 per instance of copyright infringement.

                               COUNT SIX
       BREACH OF CONTRACT - TRADEMARK ASSIGNMENT AGREEMENT
                      (Against GH Lot Holdings, Inc.)

       215.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       216.    The Trademark Assignment Agreement (Ex. 3) is a valid, binding, and enforceable

contract between and among ASH-GHand certain of the Erickson Entities, including GH Lot

Holdings, Inc. f/k/a Grayhawk Homes, Inc. ASH-GH is the owner of the “Grayhawk” and/or

“Grayhawk Homes” trademarks and trade names.

       217.    Pursuant to the Trademark Assignment Agreement, Erickson “s[old], assign[ed],

convey[ed], and transfer[red]” to ASH-GH, and ASH-GH “purchase[d], acquire[d], accept[ed],

and assum[ed]” from Erickson, “all worldwide right, title, and interest in, to, and under all

Trademarks, including, without limitation, any and all common law rights thereto and the goodwill

of the Business symbolized thereby.” Ex. 3, Trademark Assignment Agreement § 1.

       218.    The defined term “Trademarks” includes “service marks, trade names, trade secrets,

brand names, logos and corporate names, slogans, trade dress and other indicia of source of origin,

whether or not registered.” Id., Recital B.




                                                49
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 50 of 60




       219.    Accordingly, GH Lot Holdings, Inc. has no right, title, interest, or proper basis to

use or disseminate any of ASH-GH’s Trademarks, including the “Grayhawk” and/or “Grayhawk

Homes” trademark, trade name and logo and any similar trade names, trademarks, service marks,

corporate names, or slogans.

       220.    As explained herein, GH Lot Holdings, Inc., through Erickson, has used ASH-GH

trademarks, trade names and logos (e.g., “Grayhawk” and/or “Grayhawk Homes”) on documents,

materials, and signage provided to the public, brokers, realtors, and others for the marketing and

sale of homes that Erickson has developed through Grayhawk Homes of Atlanta and South

Carolina.

       221.    GH Lot Holdings, Inc.’s conduct constitutes a breach of the Trademark Assignment

Agreement, and ASH-GH is entitled to an injunction, as well as monetary damages, including for

lost goodwill and profits, in an amount to be determined at trial.

                                 COUNT SEVEN
                   FEDERAL UNFAIR COMPETITION (TRADE NAME)
                              (Against All Defendants)

       222.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       223.    ASH-GH is the owner of the “Grayhawk” and/or “Grayhawk Homes” trademarks

and trade names.

       224.    ASH-GH, including by and through its affiliates, has used and continues to use the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names, and variations thereof, in

connection with building and selling single-family homes in Georgia and Alabama.

       225.    Individually and on behalf of all other Defendants, Erickson’s unlicensed,

unconsented to, and otherwise unauthorized use of ASH-GH’s “Grayhawk” and/or “Grayhawk

Homes” trademarks and trade names and/or variations thereof in connection with his directly




                                                 50
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 51 of 60




competing building and selling of single-family homes is likely to cause confusion, or to cause

mistake, or to deceive consumers and the relevant public into falsely believing that Defendants’

services are provided by, or are affiliated, connected or associated with, ASH-GH and/or the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names.

       226.    Erickson, individually and on behalf of all other Defendants, has represented that

certain entities are affiliated with Grayhawk Homes, including Grayhawk Homes of Atlanta

Corporation and Grayhawk Homes of South Carolina, Inc.

       227.    Erickson’s representations regarding these two entities constitute false and

misleading descriptions of fact and false and misleading representations of fact.

       228.    Erickson’s actions are likely to cause confusion and mistake, and to deceive as to

the affiliation of Grayhawk Homes of Atlanta Corporation and Grayhawk Homes of South

Carolina, Inc., and their respective goods and/or services. His use of the “Grayhawk” and/or

“Grayhawk Homes” trademark and trade name is an improper use of trademarks and trade names

that are within ASH-GH’s control and ownership.

       229.    Erickson has previously acknowledged that the improper use and disclosure of such

information would constitute irreparable harm. See Ex. 6, Employment Agreement § 6.05.

       230.    The foregoing acts of Erickson, individually and on behalf of all other Defendants,

constitute unfair competition in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

Erickson has acted knowingly and willfully, in conscious disregard of the rights of ASH-GH.

       231.    In addition to irreparable harm from the unauthorized use of its intellectual

property, Defendants have been unjustly enriched as a direct and proximate result of their wrongful

acts, and ASH-GH is suffering damages in an amount to be determined at trial.




                                                51
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 52 of 60




                               COUNT EIGHT
              GEORGIA TRADEMARK INFRINGEMENT - O.C.G.A. § 23-2-55
                            (Against All Defendants)

       232.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       233.    ASH-GH is the owner of the “Grayhawk” and/or “Grayhawk Homes” trademarks

and trade names.

       234.    ASH-GH, including by and through its affiliates, has used and continues to use the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names, and variations thereof, in

connection with building and selling single-family homes in Georgia and Alabama.

       235.    Individually and on behalf of all other Defendants, Erickson’s unlicensed,

unconsented to, and otherwise unauthorized use of ASH-GH’s “Grayhawk” and/or “Grayhawk

Homes” trademarks and trade names and/or variations thereof in connection with his directly

competing building and selling of single-family homes is likely to cause confusion, or to cause

mistake, or to deceive consumers and the relevant public into falsely believing that Defendants’

services are provided by, or are affiliated, connected or associated with, ASH-GH and/or the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names.

       236.    Erickson, individually and on behalf of all other Defendants, has represented that

certain entities remain affiliated with ASH-GH’s Grayhawk Homes operations based in Columbus,

GA, including Grayhawk Homes of Atlanta Corporation and Grayhawk Homes of South Carolina,

Inc.

       237.    Erickson’s representations regarding these two entities constitute false and

misleading descriptions of fact and false and misleading representations of fact.

       238.    Erickson’s actions are likely to cause confusion and mistake, and to deceive as to

the affiliation of Grayhawk Homes of Atlanta Corporation and their respective goods and/or




                                                52
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 53 of 60




services. His use of the “Grayhawk” and/or “Grayhawk Homes” trademark and trade name is an

improper use of trademarks and trade names that are within ASH-GH’s control and ownership.

       239.    Erickson has previously acknowledged that the improper use and disclosure of such

information would constitute irreparable harm. See Ex. 6, Employment Agreement § 6.05.

       240.    The foregoing acts of Erickson, individually and on behalf of all other Defendants,

constitute trademark infringement in violation of O.C.G.A. § 23-2-55.          Erickson has acted

knowingly and willfully, in conscious disregard of the rights of ASH-GH.

       241.    In addition to irreparable harm from the unauthorized use of its intellectual

property, Defendants have been unjustly enriched as a direct and proximate result of their wrongful

acts, and ASH-GH is suffering damages in an amount to be determined at trial.

                                   COUNT NINE
   VIOLATION OF GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT -
                             O.C.G.A. §§ 10-1-370, et seq.
   (Against Erickson, GH Lot Holdings, Inc., GH Lot Holdings of Atlanta Corporation)

       242.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       243.    ASH-GH is the owner of the “Grayhawk” and/or “Grayhawk Homes” trademarks

and trade names.

       244.    ASH-GH, including by and through its affiliates, has used and continues to use the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names, and variations thereof, in

connection with building and selling single-family homes in Georgia and Alabama.

       245.    Individually and on behalf of GH Lot Holdings, Inc, and GH Lot Holdings of

Atlanta Corporation, Erickson’s unlicensed, unconsented to, and otherwise unauthorized use of

ASH-GH’s “Grayhawk” and/or “Grayhawk Homes” trademarks and trade names and/or variations

thereof in connection with his directly competing building and selling of single-family homes is

likely to cause confusion, or to cause mistake, or to deceive consumers and the relevant public into



                                                53
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 54 of 60




falsely believing that Erickson’s services are provided by, or are affiliated, connected or associated

with, ASH-GH and/or the “Grayhawk” and/or “Grayhawk Homes” trademarks and trade names.

       246.    Individually and on behalf of GH Lot Holdings, Inc. and GH Lot Holdings of

Atlanta Corporation, Erickson has represented that certain entities are affiliated with ASH-GH and

its Grayhawk Homes operations based in Columbus, GA, including Grayhawk Homes of Atlanta

Corporation and Grayhawk Homes of South Carolina, Inc.

       247.    Erickson’s representations regarding these entities constitute false and misleading

descriptions of fact and false and misleading representations of fact.

       248.    Erickson’s actions are likely to cause confusion and mistake, and to deceive as to

the affiliation of Grayhawk Homes of Atlanta Corporation and Grayhawk Homes of South

Carolina, Inc. and their respective goods and/or services. His use of the “Grayhawk” and/or

“Grayhawk Homes” trademark and trade name is an improper use of trademarks and trade names

that are within ASH-GH’s control and ownership.

       249.    Erickson has previously acknowledged that the improper use and disclosure of such

information would constitute irreparable harm. See Ex. 6, Employment Agreement § 6.05.

       250.    The foregoing acts of Erickson, GH Lot Holdings, Inc., and GH Lot Holdings of

Atlanta Corporation constitute deceptive trade practices in violation of O.C.G.A. §§ 10-1-370, et

seq. Erickson, GH Lot Holdings, Inc, and GH Lot Holdings of Atlanta Corporation have acted

knowingly and willfully, in conscious disregard of the rights of ASH-GH.

       251.    In addition to irreparable harm from the unauthorized use of its intellectual

property, Erickson, GH Lot Holdings, Inc., and GH Lot Holdings of Atlanta Corporation have

been unjustly enriched as a direct and proximate result of their wrongful acts, and ASH-GH is

suffering damages in an amount to be determined at trial.




                                                 54
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 55 of 60




                                    COUNT TEN
     VIOLATION OF SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT -
                             S.C. CODE §§ 39-5-10, et seq.
   (Against Erickson, GH Lot Holdings, Inc., GH Lot Holdings of South Carolina, Inc.)

       252.    ASH incorporates and repeats the allegations of Paragraphs 1-168 herein.

       253.    ASH-GH is the owner of the “Grayhawk” and/or “Grayhawk Homes” trademarks

and trade names.

       254.    ASH-GH, including by and through its affiliates, has used and continues to use the

“Grayhawk” and/or “Grayhawk Homes” trademarks and trade names, and variations thereof, in

connection with building and selling single-family homes in Georgia and Alabama.

       255.    Individually and on behalf of GH Lot Holdings, Inc. and GH Lot Holdings of South

Carolina, Inc., Erickson’s unlicensed, unconsented to, unlawful, and otherwise unauthorized use

of ASH-GH’s “Grayhawk” and/or “Grayhawk Homes” trademarks and trade names and/or

variations thereof in connection with his directly competing building and selling of single-family

homes is likely to cause confusion, or to cause mistake, or to deceive consumers and the relevant

public into falsely believing that Erickson’s services are provided by, or are affiliated, connected

or associated with, ASH-GH and/or the “Grayhawk” and/or “Grayhawk Homes” trademarks and

trade names.

       256.    Individually and on behalf of GH Lot Holdings, Inc. and GH Lot Holdings of South

Carolina, Inc., Erickson has represented that certain entities are affiliated with Grayhawk Homes,

including Grayhawk Homes of South Carolina, Inc.

       257.    Erickson’s representations regarding this entity constitutes false and misleading

descriptions of fact and false and misleading representations of fact.

       258.    Erickson’s actions are likely to cause confusion and mistake, and to deceive as to

the affiliation of Grayhawk Homes of South Carolina, Inc. and its respective goods and/or services.



                                                55
         Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 56 of 60




His use of the “Grayhawk” and/or “Grayhawk Homes” trademark and trade name is an improper

use of trademarks and trade names that are within ASH-GH’s control and ownership.

       259.     Erickson has previously acknowledged that the improper use and disclosure of such

information would constitute irreparable harm. See Ex. 6, Employment Agreement § 6.05.

       260.     The foregoing acts of Erickson, GH Lot Holdings, Inc., and GH Lot Holdings of

South Carolina, Inc. constitute unfair and deceptive trade practices in violation of S.C. Code §§ 39-

5-10, et seq.

       261.     In addition to irreparable harm from the unauthorized use of its intellectual

property, Erickson, GH Lot Holdings, Inc., and GH Lot Holdings of South Carolina, Inc. have

been unjustly enriched as a direct and proximate result of their wrongful acts, and ASH-GH is

suffering damages in an amount to be determined at trial.

V.     PRAYER FOR RELIEF

       WHEREFORE, ASH requests that judgment be entered in its favor and against

Defendants and that ASH be awarded the following relief:

       A.       A judgment: (a) finding Erickson and GH Lot Holdings, Inc. in breach of the LPA;

                (b) ordering specific performance to require Erickson and GH Lot Holdings, Inc.

                to meet all LPA obligations to improve and/or sell lots to ASH-GH, including (i)

                making finished lots available for purchase in advance of the minimum purchase

                requirements of the Takedown Schedule, (ii) compliance with all development

                standards contained in LPA §§ 21-24 and (iii) compliance with the procedures for

                Future ROFO Lots in LPA § 14; and (c) ordering that (i) such specific performance

                is not contingent on any additional deposit for Phase C Lots from ASH-GH and (ii)




                                                 56
 Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 57 of 60




     the price of any lot offered by Erickson to ASH-GH shall not be inflated above the

     “actual costs” of development;

B.   A temporary restraining order, preliminary injunction during the pendency of this

     action, and a permanent injunction or specific performance order requiring

     Erickson and GH Lot Holdings, Inc. to comply with the LPA by permitting ASH

     to take down the minimum number of lots per quarter prescribed by the Takedown

     Schedule, as well as any additional finished lots that are available for purchase.

C.   A judgment awarding ASH monetary damages and lost profits arising from

     Erickson’s and GH Lot Holdings, Inc.’s breach of the LPA in an amount to be

     determined at trial;

D.   A temporary restraining order, preliminary injunction during the pendency of this

     action, and a permanent injunction thereafter restraining Erickson, his agents,

     employees, attorneys, and all others in active concert or participation with any of

     them from obtaining, using, or disclosing ASH’s confidential information for any

     improper purpose;

E.   A judgment awarding ASH monetary damages and lost profits arising from

     Erickson’s breach of the confidentiality provisions of the Employment Agreement

     and Consulting Agreement in an amount to be determined at trial;

F.   A temporary restraining order, preliminary injunction during the pendency of this

     action, and a permanent injunction thereafter restraining Erickson, his agents,

     employees, attorneys, and all others in active concert or participation with any of

     them from operating a competitive homebuilding operation within any of the

     geographic areas described in the non-compete in Section 6.5 of the APA;




                                      57
     Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 58 of 60




G.       A judgment awarding ASH monetary damages and lost profits arising from

         Erickson’s breach of the APA non-compete in an amount to be determined at trial;

H.       A judgment: (a) finding GH Lot Holdings, Inc. in breach of the Copyright

         Assignment Agreement and Trademark Assignment Agreement; and (b)

         prohibiting the use any of the Intellectual Property (as defined by the agreements)

         assigned to and currently owned by ASH-GH;

I.       A judgment awarding ASH-GH monetary damages, including for lost profits and

         lost goodwill, from GH Lot Holdings, Inc.’s breach of the Copyright Assignment

         Agreement and Trademark Assignment Agreement in an amount to be determined

         at trial;

J.       A judgment finding that Erickson has infringed and willfully infringed, and is

         willfully infringing, ASH-GH’s copyrights—specifically including the Grayhawk

         Building Plans;

K.       A judgment finding that Defendants have infringed and willfully infringed, and are

         willfully infringing by improperly using deceptive trademarks and trade names

         confusingly similar to the “Grayhawk” and/or “Grayhawk Homes” trademark and

         trade name owned by ASH-GH, including but not limited to “Grayhawk Homes of

         Atlanta” and “Grayhawk Homes of South Carolina”;

L.       A temporary restraining order, preliminary injunction during the pendency of this

         action, and a permanent injunction thereafter restraining Defendants, their agents,

         employees, attorneys, and all others in active concert or participation with any of

         them from (a) using, offering for use, displaying the content of (in whole or part),

         or engaging in any act likely to cause confusion, mistake, or to mislead as to




                                          58
 Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 59 of 60




     origination and the source of ASH-GH’s trademarks and trade names, specifically,

     “Grayhawk” and “Grayhawk Homes”; and (b) an order either seizing all

     Defendants’ counterfeit marks—including “Grayhawk Homes of Atlanta” and

     “Grayhawk Homes of South Carolina”—or an order requiring Defendants to

     destroy all such counterfeit marks;

M.   A temporary restraining order, preliminary injunction during the pendency of this

     action, and a permanent injunction thereafter restraining Defendants, their agents,

     employees, attorneys, and all others in active concert or participation with any of

     them from: (a) using, offering for use, displaying the content of (in whole or part),

     or engaging in any act likely to cause confusion, mistake, or to mislead as to

     origination and source of the Grayhawk Homes goods, services, trademark and

     trade name, and copyrighted Grayhawk Building Plans, and/or any other

     commercial activities by Defendants that misrepresent the nature, characteristics,

     or qualities thereof; and (b) infringing ASH-GH’s copyrights (including the

     Grayhawk Building Plans);

N.   An impoundment and destruction order requiring Defendants to deliver up all

     copies made or used in violation of ASH-GH’s copyrights, and all articles by means

     of which such copies may be reproduced;

O.   Disgorgement of Defendants’ profits from infringement in an amount to be proven

     at trial or statutory damages for each copyright violation under 17 U.S.C. § 504;

P.   Such actual damages as may be proven as a result of Defendants’ wrongdoing;

Q.   Trebling of actual damages as may be proven as a result of Defendants’ knowing

     and willful conduct in conscious disregard of the rights of ASH;




                                      59
        Case 4:21-cv-00095-CDL Document 1 Filed 06/14/21 Page 60 of 60




       R.     Punitive damages to the extent permitted by governing law;

       S.     An award of ASH’s reasonable attorneys’ fees and costs; and

       T.     Any further relief as is deemed justified and appropriate.

Dated: June 14, 2021                        Respectfully submitted,

                                            /s/ Jerry A. Buchanan
                                            Jerry A. Buchanan
                                            Ga. Bar No. 092200
                                            BUCHANAN LAW FIRM, PC
                                            P.O. Box 2848
                                            The Corporate Center, Suite 614
                                            233 12th Street
                                            Columbus, Georgia 31902
                                            Phone:          (706) 323-2848
                                            E-mail:         jab@thebuchananlawfirm.com

                                             Jacob A. Kramer
                                                   Pro hac vice forthcoming
                                             FAEGRE DRINKER BIDDLE & REATH, LLP
                                             1500 K Street NW, Suite 1100
                                             Washington, D.C. 20005
                                             Phone:       (202) 230-5289
                                             E-mail:      jake.kramer@faegredrinker.com

                                             Counsel for Plaintiffs




                                               60
